        Case 7:20-cv-00465-LSC Document 29 Filed 12/08/20 Page 1 of 2                       FILED
                                                                                   2020 Dec-08 PM 03:12
                                                                                   U.S. DISTRICT COURT
                                                                                       N.D. OF ALABAMA


                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF ALABAMA
                         WESTERN DIVISION

                                           )
WAGNER SHOES, LLC,                         )
                                           )
      Plaintiff,                           )
                                           )
v.                                         )         7:20-cv-00465-LSC
                                           )
AUTO-OWNERS INSURANCE                      )
COMPANY and OWNERS                         )
INSURANCE COMPANY,                         )
                                           )
      Defendants.                          )
                                           )

                                       ORDER

      Two motions are before the Court. (Docs. 19 and 25.) First, Defendants filed

a Rule 12(b)(6) motion to dismiss. (Doc. 19.) After careful consideration of the briefs

and cited authority, the Court DENIES that motion. (Id.) Defendants may reassert

the motion’s arguments at the summary-judgment stage. Second, Plaintiff moved to

dismiss Count V of its Fourth Amended Complaint with prejudice and to dismiss all

its claims against Auto-Owners Insurance Company without prejudice. (Doc. 25.)

The Court then held a telephone conference on September 22, 2020. Thereon,

Plaintiff agreed to dismiss all its claims against Auto-Owners with prejudice. As

stated during the conference, all claims against Auto-Owners are DISMISSED


                                     Page 1 of 2
        Case 7:20-cv-00465-LSC Document 29 Filed 12/08/20 Page 2 of 2




WITH PREJUDICE, and Count V of Plaintiff’s Fourth Amended Complaint is

DISMISSED WITH PREJUDICE.

      The Court ORDERS the parties to file a Planning Meeting Report within

twenty-one (21) days of this Order’s entry. (See Doc. 11 at 1–3.)

      DONE and ORDERED on December 8, 2020.



                                              _____________________________
                                                      L. Scott Coogler
                                                 United States District Judge
                                                                                203323




                                     Page 2 of 2
